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Dated: August 05, 2013
The following is SO ORDERED:


                                                   ________________________________________
                                                               David S. Kennedy
                                                   UNITED STATES CHIEF BANKRUPTCY JUDGE


____________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


In re:

DONAL MARTIN McDONAGH and
MICHELE RAWLS McDONAGH                               Case No. 12-27642 DSK

                Debtor.                              Chapter 13


                 CONSENT ORDER WITHDRAWING MOTION FOR RELIEF
                           FROM THE AUTOMATIC STAY


         This matter came before the Court on the Motion for Relief From the Automatic Stay of

Trust One Bank, a division of Synovus Bank (Dkt. 33), and it appearing to the Court that by

consent of the parties, the Motion may be withdrawn with the provision that in the event of a

future payment default, the Motion may be placed back on the Court docket without the

necessity for Trust One Bank to file a new motion for relief.

         IT IS THEREFORE ORDERED, that by consent of the parties the Motion for Relief

From the Automatic Stay by Trust One Bank is hereby withdrawn with the condition that in the
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even of a future payment default Trust One Bank may renew its Motion by contacting the Court

clerk without the necessity for filing a new motion for relief.



APPROVED:
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